
MEMORANDUM **
Darrell D. Foley appeals pro se from the district court’s judgment dismissing, pursuant to 28 U.S.C. § 1915A, his action arising from a prior bankruptcy action. We review de novo. Resnick v. Hayes, 213 F.3d 443, 447 (9th Cir.2000). We affirm.
Dismissal of Foley’s claims against the presiding bankruptcy judges and the district court judge was proper because a judge is entitled to immunity for judicial actions taken within his jurisdiction. See Moore v. Brewster, 96 F.3d 1240, 1244 (9th Cir.1996).
*825The district court properly dismissed Foley’s claims against attorney Andrew Chung because those claims were based entirely on Chung’s role in representing the government in Foley’s prior action against Judge Jellen. See Fry v. Melaragno, 989 F.2d 882, 837 (9th Cir.1991).
Dismissal of Foley’s claims against Lois Brasy, a bankruptcy trustee, was proper because she was entitled to quasi-judicial immunity. See Mullis v. United States Bankr.Ct. for the Dist. of Nev., 828 F.2d 1385, 1390 (9th Cir.1987). Foley’s remaining contentions lack merit.
AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir. R. 36-3.

